914 F.2d 1490Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Anthony CROWELL, Petitioner-Appellant,v.David WILLIAMS;  Mary Sue Terry, Attorney General ofVirginia, Respondents-Appellees.
    No. 90-6583.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 27, 1990.Decided Sept. 25, 1990.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  David G. Lowe, United States Magistrate.  (C/A No. 88-790-R).
      Anthony Crowell, appellant pro se.
      Linwood Theodore Wells, Jr., Assistant Attorney General, Richmond, Va., for appellees.
      E.D.Va.
      DISMISSED.
      Before SPROUSE and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Anthony Crowell seeks to appeal the magistrate's* order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the magistrate's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the magistrate.  Crowell v. Williams, C/A No. 88-790-R (E.D.Va. Apr. 17, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    
      
        *
         The magistrate exercised jurisdiction pursuant to 28 U.S.C. Sec. 636(c)
      
    
    